Case 4:14-cv-OO423-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 07/24/14 Page 1 of 31

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

(1) DEDRICK D. REED, )
)
Plaintiff, )
) Case No. l4-CV-423-CVE-FHM
vs. )
)
(1) H & H ROAD BOR]NG CO., )
)
Defendant. )
NOTICE OF REMOVAL

 

COMES NOW the Defendant, H & H ROAD BOR]NG COMPANY (Defendant) by and
through its attorney, Randall A. Gill, and pursuant to 28 U.S.C. §§1441 and 14467 hereby removes
this action from the District Court of Rogers County, State of Oklahoma, to the United States District
Court for the Northem District of Oklahoma. This action may be removed because this Court has
a original jurisdiction pursuant to 28 U.S.C. §1331 and supplemental jurisdiction pursuant to 28
U.S.C. §1367. In support of removal, the Defendant Would state as follows:

l. On July ll7 2014, the Plaintiff, DEDRICK D. REED (Plaintii`i) commenced an
Amended Petition in the District Court of Rogers County7 State of Oklahoma entitled Detrz`ck D.
Reed vs. H &HRoaa'Boring Compcmy, Case No. CJ-2014-157 (originally styled H & H Boring Co.)
Which alleges violations of 42 U.S.C. §200(€), et seq., 42 U.S.C. §1981 (civil rights),'"_l`itle 7 of the
Civil Rights Act of 1964, and Seeks damages under the United States Code for alleged racial
discrimination, Work environment retaliation, discrimination based on race Which are pled as actions
under the United States Code for all claims of relief A copy of the Docket Sheet7 all process,

pleadings, papers and Order served in the State Court action are attached to this Notice ofRemoval

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as Exhibits l through 5, as required by 28 U.S.C. §l446(a) and LCVR 8l.2, except as otherwise
stated in its Answer to be filed subsequent to removal, Def`endants deny all substantive allegations

2. Plaintiff` originally filed its action against H & H Boring Company of Guthrie,
Oklahoma which is not one and the same entity as H & H Road Boring Company of Inola, Oklahoma.
A Motion to Quash and/or Dismiss was filed H & H Road Boring Company as improper service and
Def`endant. The original Summons and Petition was against H & H Boring Company, Guthrie7
Oklahoma, and not H & H Road Boring Company, Inola, Oklahoma.

3. Therea&er, on July ll, 2014 rather than respond to the Motion to Dismiss and/or
Quash7 the Plaintiff` elected to file his Amended Petition against H & H Road Boring Company
(correct party and entity) and served Summons by certified mail on the correct entity with correct
Summons known as H & H Road Boring Company. Service Was made on July 16, 2014. The
Answer date will be August 5, 2014_

4. Now that the proper entity has been identiHed and served, the Defendant seeks
removal to this Court.

5. This Notice of`Removal is timely filed pursuant to 28 U. S.C. §1446, because it is filed
within 30 days of the date on which Def`endant was served on July 16, 2014 with the Petition.

6. This is a civil action over which this Court has original jurisdiction based on federal
questions pursuant to 28 U.S.C. §1331 and supplemental jurisdiction pursuant to 28 U.S.C. §1367,
because all claims raised by Plaintiff` arise from the same matter or controversy As such, this matter
may be removed to this Court under the provisions of` 28 U.S.C. §l44l(a).

7. Plaintil`f alleges that his employment with the Def`endant was terminated as the result

of discrimination based on race (Title 7), civil rights (42 U.S.C. §1981), hostile work environment

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(Title 7), retaliation (Title 7) and intentional infliction of emotional distress based upon all of the
above federally based theories of recovery under federal statues

8. Pursuant to the U. S. Code, Plaintiff’ s claims alleging his employment was effected
by federal statutes creates a claim over which this Court has original jurisdiction The case or
controversy at issue for such a claim is based upon the alleged circumstances of Plaintiff’ S
employment and alleged termination of that employment

9. The circumstances of Plaintiff"s employment and termination are also the issue in
Plaintiff’ s tort claim of intentional infliction of emotional distress, which alleges extreme and
outrageous conduct to cause severe emotional and psychological damage all based upon the federal
claims/statutes at issue.

lO. All the federal and state common law claims arise from Plaintiff’ s employment and the
alleged termination of his employment, and as such this Court may exercise supplemental jurisdiction
over Plaintiff' s single state law claim arising out of purported violations of federal statutes pursuant
to U.S.C. §1367_

ll. Venue is proper in this district pursuant to 28 U.S.C. §l44l(a) because this district
embraces Rogers County in which the removed action has been pending

12. The pleadings are attached hereto as Exhibit l through 5, and constitute all the
process7 pleadings, and Orders served upon the Defendants in this action to date.

l3. l)efendant will promptly serve Plaintiff of this Notice of Removal and will promptly
file a Notice of this removal with clerk of the District Court of Rogers County, State of Oklahoma,
as required under 28 U.S.C. §1446(d).

WHEREFORE, premises considered, Defendant respectfully requests that the above action

now pending in the District Court of Rogers County, State of Oklahoma entitled Delrz'ck D. Reed

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vs. H & H Road Boring Company, Case No. CJ-2014-157 be removed to the United States District

Court for the Northern District of Oklahoma.

Respectfii itted,

l

RANDALL A. ban oBA #10309
2512 East 21st Street

Tulsa, Oklahoma 74114-1706

(918) 747-1958

(9l8) 747-l108 fax

 

CERT[FICATE OF SERVICE

This is to certify on the date listed below that a true and correct copy of the above and

foregoing document was:
77 241/3 Mailed with postage prepaid thereon;

Faxed;

Hand Delivered
to the following person(s):
Darriel E. Smolen
SMOLEN & SMOLEN, PLLC
701 South Cincinnati Avenue
Tulsa, Oklahoma 74119

\

 

Randall A. Gill

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SCN rrfww.eMA~e/T/
THE OKLAHUMA STATE C'DURTS NETWORK

The information on this page is NOT an ochial record. Do not rely on the correctness or completeness of th1s information Verity all information with the otiicial record
keeper. The information contained m this report is provided m compliance with the Oklahoma Open Records Act, 51 O S. 24A.1. Use of th1s information rs governed by
this act, as well as other applicable state and federal laws

 

 

 

IN THE DISTRICT CoURT n\r Ai§rquorz RoGERs CoUNTY, oKLAHoMA

 

No. CJ-2014-157

DedriCk D. Reed (Civil relief more than $10,000:
DISCRIMINATION)

\vs.
Filed: 04/15/2014
(1) H & H Boring co., a domestic
.rfor prorit business corporation

 

 

Judge: Post, Dynda R

 

 

Parties

 

H & H Boring Company , Defendant
Reed, Dedrick , Plaintifi

 

Attorneys

Attorney Represented Parties
Gill, Randall A.(Bar# 10309) H & H Boring Company,
Gil| Law Firm

2512 E 21st Street
Tulsa, OK 74114

Smolen, Danie| E(Bar# 19943) Reed, Dedrick
Smolen & Smolen

701 S. Cincinnati Ave.

Tulsa, OK 74119

Events

 

Event Party Docket Re porter

lssues

 

For cases filed before 1/1/2000, ancillary issues may not appear except in the docket.

issue # 1. lssue: D|SCRll\/|lNATlON (DlSCR|l\/l)
Filed by: Reed, Dedrick
Filed Date: 04/15/2014

Pam( Name: Disposition lnformation:
Pending.

Exhibit ‘l

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Docket

Date Code Count Party Seria| # Entry Date

04-15-2014 TEXT 1 6053191 Apr 15 2014 2:35;14:447PM - $ 0_00
ClVlL REL|EF |\/lORE THAN $10,000 |N|TIAL FlL|NG.
§lDocL/ment Avai/able at Court Clerk‘s Office

04-15-2014 DISCR||\/| - 6053193 Apr 15 2014 2:021141937PM Realized $ 0.00
DISCRll\/||NAT|ON

04_15_2014 D|\/\FE _ 6053194 Apr 15 2014 2:02:14:957PM Rea|ized $ 2_00
D|SPUTE |\/lED|AT|ON FEE($ 2.00)

04-15~2014 PFE1 - 6053195 Apr 15 2014 2134145:857PM Realized $ 163.00
PETIT|ON($ 163.00)
iii Document A\/ai/able (#1024961394)

04-15_2014 PFE7 - 6053196 Apr 15 2014 2;02;14;957PM Rea|ized $ 5_00
LAW LIBRARY FEE($ 6.00)

04_15-2014 OC|SR _ 5053197 Apr 15 2014 2;02;14;957PM Rea|ized $ 25_00
OKLAHOMA COURT |NFORl\/lAT|ON SYSTEl\/l REVOLVING FUND($ 25.00)

04-15-2014 CCADl\/I|NO2 - 6053198 Apr 15 2014 2102:14:957F’|\/\ Rea|ized $ 0.20
COURT CLERK ADM|N|STRAT|VE FEE ON $2 COLLECT|ONS($ 0.20)

04_15_2014 OCJC _ 6053199 Apr 15 2014 2:02:14:9571=1\/1 Rea|ized 33 2_00
OKLAHOMA COUNC|L ON JUD|CIAL COl\/lPLAlNTS REVOLV|NG FUND($ 2.00)

04-15_2014 OCASA _ 6053200 Apr 15 2014 2:02:14:957PM Rea|iz@d $ 5_00
OKLAHOMA COURT APPO|NTED SPEC|AL ADVOCATES($ 5.00)

04-15~2014 CCADl\/llN04 - 6053201 Apr 15 2014 2102¢14:957|°1\/| Rea|ized $ 0.50
COURT CLERK AD|\/||NISTRAT|VE FEE ON COLLECT|ONS($ 0.50)

04_15_2014 |_TF _ 6053202 Apr 15 2014 2102:15:057P|\/l Rea|ized $ 10_OO
LENGTHY TR|AL FUND($ 10.00)

04_15_2014 SMF _ 6053203 Apr 15 2014 2:02:15;107PM Realized $ 5,00
SUl\/ll\/lONS FEE (CLERKS FEE)($ 5.00)

04-15-2014 TEXT _ 6053192 Apr 15 2014 2:02:14:887P1vl _ $ 0_00
OC|S HAS AUTOIV|AT|CALLY ASSIGNED JUDGE POST, DYNDA R. TO TH|S CASE.

04-15-2014 ACCOUNT _ 6053209 Apr 15 2014 2;05;15;647PM _ 3 0_00

RECE|PT # 2014-425090 ON 04/15/2014.
PAYOR:S|V\OLEN & Sl\/lOLEN, PLLC TOTAL Al\/lOUNT PA|D: $218.70.

Case 4:14-cv-OO423-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 07/24/14 Page 7 of 31

LlNE lTEl\/lSI

CJ-2014-157: $168.00 ON AC01 CLERK FEES.

CJ-2014-1 572 $6.00 ON AC23 LAW LlBRARY FEE.

CJ-2014-157: $0.70 ON AC31 COURT CLERK REVOLVING FUND.

CJ-2014-157: $5.00 ON AC58 OKLAHOMA COURT APPO|NTED SPEC|AL ADVOCATES.
CJ-2014-157: $2.00 ON AC59 OKLAHOMA COUNC|L ON JUD|CIAL COl\/lPLAlNTS REVOLV|NG FUND.
CJ-2014-157: $2.00 ON AC64 DlSPUTE l\/lEDlAT|ON FEES.

CJ-2014-157: $25.00 ON AC79 OC|S REVOLV|NG FUND.

CJ-2014-157: $10.00 ON AC81 LENGTHY TR|AL FUND.

 

05-21-2014 S|\/lS _ 6103620 lvlay 22 2014 8;37:11:233AM _ $ O_OO
SUl\/ll\/lONS RETURNED, SERVED: H & H BOR|NG CO BY CERT|FED l\/lAlL
l§loocument Ava//ab/e r#1025789914)

 

06-03-2014 EAA _ 6118801 Jun 3 201411;50;44:973AM _ $ ()_00
ENTRY OF APPEARANCE AND RESERVAT|ON OF Tl|\/lE |N WHICH TO FURTHER ANSWER OR
PLEAD

Eoocumenr Ava//ab/e r#1025041222)

 

06-23-2014 MO _ 6143063 Jun 23 20141:56;35;317PM _ $ 0_00

M_or\oN To ouAsH AND/ora Disl\/uss
l§loocumenr Avai/ab/e r#1026359623)

 

07-11-2014 3|\/\|= - 6166820 10111 2014 9;10;18;547AM Rea\ized $ 5_00
suMMoNs FEE (cLERKs FEE)($ 5.00)

 

07-11-2014 Al\/| - 6167147 Jul 11 2014 2:42;23;507PM _ $ 0_00

AMENDED PETlTloN
Eioocumenr Ava//ab/e r#1026559177)

 

07-11-2014 ACCOUNT - 6166821 101 11 2014 9;10:46:107AM _ $ 0_00

RECE|PT # 2014-433366 ON 07/11/2014.

PAYOR:Sl\/IOLEN AND Sl\/IGLEN PLLC TOTAL Al\/lOUNT PA|D: $5.00.
LlNE lTEl\/lS:

CJ-2014-157: $5.00 ON ACO1 CLERK FEES.

 

07-21-2014 Sl\/|S _ 6178732 10121 2014 4:14:22:190P1vi _ $ 0_00
SU|\/l|\/|ONS RETURNED, SERVED: H&H ROAD BOR|NG CO. ON 7/16/14 THROUGH CERT|F|ED l\/|A|L.
l§ioocumenr Ava//ab/e 1#1025648824)

 

 

Report Generated by The Oklahoma Court information System at July 23,201411:54 AM

End of Transmission.

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H&H Road Boring 918-543-3766 p.5

  
 

IN THE DISTRICT COURT IN AND FOR ROGERS COUNTY

STATE OF OKLAHG MA
DEDRICK D. REED, ]
)
)
Plaintiff, ]
] CASE NO. CI~2014--157
vs. 1
)
[1] H & H ROAD BORING CO., ] A'I'I`ORNEY LIEN CLAll\/IED
]
l
Defendant. ]
]

AMENDED PETITION
COMES NOW the Plaintiff, Dedrick Reed, through his attorneys of record,
Daniel E. Smolen and Lauren G. Lambright, and brings this action against the
Defendant, H & H Boring Co., for violations of his constitutionally protected rights

arising out of his employment and termination by said Defendantl

PARTIESl IURISDICTIDN AND VENUE

1. Plaintiff is a resident of Tulsa County.

2. Defendant is a corporation regularly doing business in Rogers County,
Oklahoma.

3. The incidents and occurrences which form the basis of Plaintift’s action

occurred in Rogers County.

4. This Court has jurisdiction and venue is proper in Rogers County.
5. Plaintiff filed a charge of discrimination against the Defendant with the Equal
Employrnent Opportunity Commission ("EEOC”). A Notice of Right to Sne Was

received by each Plaintiff on or about lanuary 16, 2014, and this Petition has been

Exhibit 2

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l-l&|~l Road Boring 918-543-3766 p.6

filed within ninety days (90] of the receipt of the Notice of Right to Sue. As such,
Plaintiff has complied fully with all prerequisites in this Court under Title VII.
6. Actual and compensatory damages are sought pursuant to 42 U.S.C. § 2000e,

etseq. and 42 U.S.C. § 1981.

7. Punitive damages are sought pursuant to 42 U.S.C. § 1981.
8. Costs and attorney’s fees may be awarded pursuant to 42 U.S.C. § 2000e, et
seq

FACTS COMMON TO ALL CLAIMS
9. Plaintiff` is an African-Am erican male.
10. Plaintiff was an employee of Defendant until his termination on or about
january 28, 2013. Plaintiff was employed as a Crew Worker and Driver.
11. Upon his hire, Plaintiff was the only African American employee of the
company. During his employment, he was subjected to disparate treatment on the
basis of his race. Specifically, Plaintiff endured racial slurs, unequal terms and
Conditions of employment, and a hostile work environment in comparison to his
Caucaslan coworkers Furthermore, When Plaintiff questioned this treatment and
complained about it to his supervisor, he suffered retaliation at the hands of
Defendant.
12. Specifically, one employee, "Zal<e," constantly called Plaintiff a ”nigga” and
also called him "Obama." Additionally, the owner, Mr. Gerald Hail, told Plairltiff to
run at'l-iail’s son’s request because this was something Hail’s son enjoyed watching
Even though Plaintiff complained to the owner, Gerald Hail, Defendant did nothing

to address the derogatory language and hostile environment The hostile

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H&H Road Boring 918-543-3766 p.7

environment was severe and pervasive and made it difficult for Plaintiff to continue
working

13. in addition to the racial slurs Plaintitf endured, he was also treated
differently. Speciticaily, Defendant informed Piaintiff that he would not receive
insurance because the "Obama Health Plan” was too expensive Yet no other
similarly situated Caucasian employee was denied insurance on this basis. Plaintiff
Was treated Worse than his Caucasian co-Workers because ofhis race.

14. Defendant also lowered Plaintiff’s pay by two dollars an hour Without any
Warning or any deficient work performance on Plaintiff`s part. Defendant also
singled out Piaintiff as the only employee to be paid "under the table." No other
Caucasian co-Worker was treated this Way and Defendant lowered Plaintiff’s pay
and paid him "under the table” because of P]aintiff's race.

15. When Plaintiff attempted to voice his concerns about the disparate treatment
and rectify the situation, the Defendant retaliated against and fired him on january
28, 2013. Plaintiff’s termination was a culmination of the racially hostile work
environment based upon his race and was in retaliation for Piaintiff reporting the
race discrimination and hostile work environment he was experiencing -

FleT cLAlM ron REuEF
DiscRerNArroN arisen oN RACE rriTLE vin

 

16. Plaintiffincorporates as ifreaileged the preceding paragraphs

17. By terminating the Plaintiff and treating him differently than similarly
situated Caucasian employees, the Defendant has violated Title VlI ofthe Civil Rights
Act0f1964-.

WHERFORE, Plaintiff prays for judgment against the Defendant for:

Case 4:14-cv-OO423-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 07/24/14 Page 11 of 31
l-l&l'l Road Boring 918-543-3766 p.8

a. Back pay and lost benefits; front pay until normal retirement

b. Compensatory damages for his mental anguish, pain and suffering and
other non~pecuniary losses;

c. Punitive damages for the intentional and knowing acts of discrimination
committed by the management and executives at joe Cooper Ford;

d. His attorney fees and the costs and expenses of this action;

e. Such other relief as the Court deems just and equitable

SECOND CLAIM FOR REL|EF
42 U.S.C. § 1981

18. Piaintiffincorporates as ifrealieged the preceding paragraphs

 

19. By terminating the Plaintiff and treating him different than similarly situated
Caucasian employees the Defendant has violated 42 U.S.C. §_1981.
WHERFO RE, Plaintiffprays for judgment against the Defendant for:

a. Back pay and lost benefits; front pay until normal retirement

b. Compensatory damages for his mental anguish, pain and suffering and
other non-pecuniary losses;

c. Punitive damages for the intentional and knowing acts of discrimination
committed by the management and executives at joe Cooper Ford;

d. His attorney fees and the costs and expenses of this action;

e. Such other reliefas the Court deemsjust and equitable

THIRD CLAIM FOR RELlEF
HOSTlLE WORK ENVIRONMENT (TITLE Vll`l

 

20. Plaintiffincorporates as if realleged the preceding paragraphs
21. The conduct and attitude of Plaintiff’s supervisors and coworkers toward

Plaintiff combined with their disparaging remarks regarding Piaintiff's race were so

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l'l&l‘l ROaCl BOi'lr'ig 918_543_3766 p'g

severe and pervasive that they altered the conditions of employment and created a
hostile working environment

22. By subjecting Plaintiff to a hostile work environment based upon race and
failing to ensure a non-hostile Work environment, and ultimately terminating the
Plaintift’s employment, the Defendant has violated Title Vii of the Civil Rights Act of
1964.

WHERFORE, Plaintiff prays for judgment against the Defendant for.~

a. Back pay and lost benefits ; front pay until normal retirement

b. Compensatory damages for his mental anguish, pain and suffering and
other non-pecuniary losses;

c. Punitive damages for the intentional and knowing acts of discrimination
committed by the management and executives at joe Cooper Ford;

d. His attorney fees and the costs and expenses of this action;

e. Such other relief as the Court deems just and equitable

FOURTH CLAIM FOR RELIEF
RETAI.IATION (TITLE Vlll

23. Plaintiff incorporates as if realleged the preceding paragraphs

24. Plaintiff complained about the disparity in treatment and hostile work
environment based upon his race.

25. By terminating Plaintiff.s employment in retaliation for his complaints
regarding the unfair treatment and hostile work environment, Defendant has
violated Title Vii ofthe Civil Rights Act of 1964, 42 U.S.C. §ZOOOe~S[a].

WHERFORE, Piaintiff prays for judgment against the Defendant for:

a. Back pay and lost benefits; front pay until normal retirement
b. Conipensatory damages for his mental anguish, pain and suffering and

other non-pecuniary iosses;

 

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H&H Road Boring 918-543-3766 p_10

c. Punitive damages for the intentional and knowing acts of discrimination
committed by the management and executives atjoe Cooper Ford;
d. His attorney fees and the costs and expenses ofthis action;

e. Such other reiiefas the Court deems just and equitable

FIFTH CLAlM FOR RELIEF
INTENTIONAL lNFLlCTION OF EMOTIONAL DISTRESS

26. Plaintiffincorporates as if realleged the preceding paragraphs

27. The Defendant's actions of intentional and malicious discrimination and
retaliation are extreme and outrageous and have caused severe emotional and
psychological damage to the Piaintiff.

28. The Defendant intentionally or recklessly caused severe emotional distress
to Plaintiff beyond Which a reasonable person could be expected to endure.
WHERFORE, Piaintiff prays forjudgment against the Defendant for:

a. Back pay and lost benefits; front pay until normal retirement

b. Compensatory damages for his mental anguish, pain and suffering and
other non-pecuniary losses;

c. Punitive damages for the intentional and knowing acts of discrimination
committed by the management and executives at joe Cooper Ford;

d. His attorney fees and the costs and expenses ofthis action;

e. Such other relief as the Court deems just and equitable

Case 4:14-cv-OO423-CVE-FHI\/| Document 2.Filed in USDC ND/OK on 07/24/14 Page 14 of 31
H&H Road Boring 918-543-3766 p.11

Respectfully submitted,

,_,_,._-__.__-,

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§

 

Dlmie~rt.“s/ en, DBA# 1994
SMOLEN & , . .
701 S. CincinnatiAve.,

Tulsa, OK 74119

P: [918) 585-2667

F: (918) 585-2669

Attorneys for Plaintiff

Case 4:14-cv-OO423-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 07/24/14 Page 15 of 31

H&H Road Boring 918-543-3766 p.3
IN THE DISTRICT COURT IN AND FOR ROGERS COUN'I`Y
STATE OF OKLAHOMA
DEDRch D. Re.er), )
)
)
Plaintiff, )
) CASE NO. CJ~2014-157
vs. )
)
(:_l) H & H ROAD BORING CO._, ) ATTORNEY LIEN CLAIMED
)
)
Defendant )
)
ORIGINAL SUMMONS

 

SERVE BY U.S. CERTIFIED MAIL, RE'I`URN RECEIPT REQL`ESTED

H & l.-i Road Boring Co.
c.»'o Gerald Haii

14157 East 580 Road
Inola, OK 74036

To the above-named Defendant(s)

You have been sued by the above named plaintif`f(s), and you are directed to file a Wn'tten
answer to the attached petition and order in the court at the above address within twenty (20) days
after sewice of this summons upon you exclusive of the day of service. Within the same time_, a
copy of your answer must be delivered or mailed to the attorney for the plaintiff Unless you answer
the petition within the time stated judgment will be rendered against you with costs of the action.

Issued this l l day of _, 2014
l K‘\m Heni'y, Court Clerk

County Court Clerk

l .
By `
Deputy Court Cle k '

This summons and order Was served on

(seai)

 

(Signature of person serving summons)

YOU l\/lAY SEEK THE ADVICE OF Al\l ATTORNEY ON ANY MATTER
CONNECTED W'ITI~I 'l`HlS SUlT ()R Y(.)UR ANSWER. SUC'H ATTORNEY SHOUI_.D BE
CONSULTED IMMEDIATELY SO THAT ./-\N ANSWER l\/IAY BE Fl LED WITHIN THE
Tl_\/IE LIMIT STA'I`ED lN Tl-IIS SU.\IMONS.

Return ORIG[NAL for filing.

Exhibit 3

Case 4:14-cv-OO423-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 07/24/14 Page 16 of 31
H&i-l Road Boring 918-543-3766 p.4

PERSONAL SERV[CE
l certify that l received the foregoing Summons the dav of 2014 and that l
delivered a copy of said Summons with a cop\ of the Petition to the following named defendant
personally in County, at the address and on the
date set forth opposite each nameq to-wit:

Name of Defendant Address Date of Scrvic-e

 

USUAL PLACE OF RESIDENCE
I certify that l received the foregoing Summons on the day of , 2014, and that on
, l served by leaving a copy of said summons
with a copy of the attached Petition at
which is his/her dwelling house or usual place of abode, with
, a person then residing therein, who is fifteen (15) years of

 

 

age or older.
NOT FOU_\iD
Received this Summons`ttiis'__` “"“_da`y_t`)f" '" "` .2014. I certify that the following
persons of the defendant within named not found in said Countv:

 

 

 

 

FEES
Fee for service $ , Mileage $ ,
'1`otal $
Dated this day of . 2014.
By:
Sheriff of County,
AFFIDAVlT
I_. the undersigned, under oath. do say that I ser\ ed this

 

Summons and made the return thereon according to law that l am duly authorized to make this
aftrdavit so help me God.

Sheri ff of County,

Subscribed to and sworn to before me this day of , 2014.
My Commission Expires:
Seal Notary Public

CERTIFICATE OF SERVICE BY l\IAlL
l certify that l mailed copies of the foregoing summons with a copy of the Petition to the
following named defendant at the address shown by certified mail, addressee only, return receipt

requested, on the day of ___ 2014, and receipt thereof on the dates shovvn:
Defendant Address Where Served Date
Receipted

Signature of person mailing summons

Case 4:14-cv-OO423-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 07/24/14 Page 17 of 31

H&H Road Boring 918-543-3766 p.l‘l
CERT!FICATE OF SERVICE BY MAIL
I certify that l mailed copies of thc foregoing summons with a copy of the Petition to the
following named defendant at the address shown by certified ntail, addressee only, return receipt

requested._ on the day of , 2014, and receipt thereof on the dates shown:
Defendant Address Where Served Date
Receipted

Slgnature of person ma1l1ng summons

Case 4:14-cv-OO423-CVE-FHI\/| Document 2 Filed ln_l.lSD_C_NDLOK on 07/24/14 Paoe 18 of 31

H & H BOR|NG COMPANY

Details
Fi|ing Number:

Name Type:

Status:

Corp type:
Jurisdiction:

Formation Date:

Registered Agent lnformation
Name:

Effective:
Address:
City, State , ZipCode:

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Domestic For Protit Business Corporaticn
Oklahoma

19 Aug 1975

ELLEN L. HlLL
N/A

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GUTHR|E OK

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4/29)14]1:10 AM

Page 1 of 1

` ` K on 07/24/14 Page 19 of 31
Case 4:1§§§¥53%423-CVE-FHM Document 29|1:&!1§1(31_31;166USDC NE){(§)

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IN THE DISTR|CT COURT lN AND FOR ROGERS COUNTY
STATE OF OKLAHOMA

DEDRICK D. REED.

Platmiff. CASE NO_ CJ'zo 174/57

VS.

(1) H & H BOR|NG CO., a domestic
for profit business corporation

ATTOR.NEY LlEN CLAIl\/IED

Defendant

.v. , .

ORIGINAL SUM'MONS

SERVE BY U.S. CERTIFIED MAlL, RETURI\' RECEIPT REQUESTED

l~l & H Boring Co.
c/o Ellen L. Hill

Rt. 5 Box 646
Guthrie‘ OK 73044

To the above-named Defendant(s)

You have been sued by the above named plaintiff(s), and you are directed to file a written
answer to the attached petition and order in the court at the above address within twenty (20) days
after service of this summons upon you exclusive of the day of service. Within the same time, a
copy ofyour answer must be delivered or mailed to the attorney for the pl aintit`f. Unless _vou answer
the petition within the time stated judgment will be rendered against you with costs of the action

lssued this 45 m day of , ZOHL
lm Gll

oun _ Court Cl rk .

B_v
Deputy Court C|erl\'
(Seal)

This summons and order was served on

 

(Signature of person serving summons)

YOU MAY SEEK THE ADVICE OF AN ATTORNEY ON ANY MATTER
CONNECTED Wl'l`H THIS SUlT OR YOUR ANSWER. SUCH ATTORNEY SHOULD BE
CONSL'LTED IMMEDIATELY SO THAT AN ANSWER NtAY BE FII_ED WITHlN THE
Tll\~lE LIMIT S'l`ATE-D fN THIS SUMMONS.

Return ORIGlNAL for Eling.

_l_ ser\;d_ 1 by leaving a c`op'y ot`s?a'id`§umm‘ons
with a copy of thc attached Petition at _ ,

which is his/her dwelling house or usual place of abode, wlth ‘ ` d
. a person then residing therein, who is fitteen (15) years ot

 

age or older.
NOT FOU.\’D

Rec-eived this Summons this day of ___, 2014. l certify that the following
persons of the defendant within named not found in said County:

 

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Dated this day of , 2014.
By:
Rl'tr=r‘ifi"nf` COUH[)'.

Exhibit 4

Case 4:14-c\/- 00423- CVE- FH|\/| Document 2 Filed in USDC ND/OK on 07/24/14 Page 20 of 31

Wle

IN THE DISTRICT COURT IN AND FOR ROGERS COUNTY

STATE OF OKLAHOMA
DEDRICK D. REED, )
)
Plaintiff, )
) Case No. CJ-2014-157
VS ) F|lED lN THE DlSlRlCT COURT
' ) ROGERSCOuNTvoKLAHoMA
H & H BORING CO., a domestic )
for profit business corporation, ) jUN 2 3 mill
)
Defendant ) M

____.,_.----*_'~"v
MOTION TO OUASH AND/OR DISMISS

COMES NOW H & H _IM BORING COMPANY, LLC and moves this Court
pursuant to 12 O. S. §2012(B)(2)(4)(5) to dismiss the Petition against third party, H & H Ro_ad
Boring Company, LLC. In support, H & H R_ngl Boring Company LLC would show the Court as
follows:

1. Plaintiff, Dedrick D. Reed, filed his claim against H & H Boring Company, a domestic
for proiit corporation

2. The Summons served on H & H I{Lad_ Boring Company was addressed to H & H
Boring Company c/o Ellen L. Hill, Route 5, Box 646, Guthrie, Oklahoma 73 044. Attached as Exhibit
l is a copy of the Petition and attached as Exhibit 2 is a copy of the Summons

3. The Summons of H & H Boring Company was served on H & H BLad Boring
Company, LLC at 14157 East 580 Road, Inola, Oklahoma 74036. H & H Boring Company, the
Defendant sued in this action, is not one and the same as H & H Ro_ad Boring Company, LQ_ They

are two separate unrelated entities

Exhibit 5

Case 4:14-cv-OO423-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 07/24/14 Page 21 of 31

4. The Plaintiff has sued the wrong entity and served H & H Road Boring Company,
LLC with an improper Summons identifying another entity in Guthrie, OK. The original Summons
was issued to H & H Boring CompanyJ c/o Ellen L. Hill_

5. Service of a Summons upon H & H Boring Company cannot effectuate service on H
& H Road Boring Companyj LLC.

6. The Petition should be quashed against H & H Road Boring Company for insufficient
and improper service upon a non~named Defendant in the legal action and the Petition dismissed

7. Attached as Exhibit 3 is an Affidavit of Gerald Hail, Manager of H & H Road Boring
Company, LLC in support of this motion

8. H & H Road Boring Company, LLC is not an actual named party to the action as
plead by Dedrick D Reed. The only entity sued is H & H Boring Company of Route 5, Box 646,
Guthrie, Oklahoma as shown on the Summons It was the intent of the Plaintiffin the issuance of the
original Summons to apparently sue H & H Boring Company at the Guthrie address

9. H & H Road Boring Company, LLC is not an actual party to this action and service
of process upon H & H Road Boring Company, LLC is improper and should be quashed by this
Court as improper service upon a non-party to the lawsuit

WHEREFORE, premises considered, H & H Road Boring Company, LLC requests that this
Court quash the service of summons and dismiss the Petition of the Plaintiff against H & H Road
Boring Company, LLC who is not a named party in this action, nor has it been properly served with
Summons in this matter, and for such other and iiirther relief that the Court deems just and proper

in the premises

Case 4:14-cv-OO423-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 07/24/14 Page 22 of 31

l

RANDALL A. G , OBA #103 09

2512 East 21St Street

Tulsa, Oklahoma 741 14-1706

(918) 747-1958

(918) 747-1108 tax
CERTIFICATE OF MA]L]NG

 

This is to certify on the date listed below that a true and correct copy of the above and
foregoing document was:
(0 20 / l\/Iailed with postage prepaid thereon;
Faxed;
Hand Delivered

to the following person(s):

Daniel E. Smolen

SMOLEN & SM()LEN7 PLLC
701 South Cincinnati Avenue
Tulsa, OK 74119

 

 

Randaii A.'Giii

Case 4:14-cv-OO423-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 07/24/14 Page 23 of 31

p.2

918-543-3766

H&H Road Boring

 

 

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lN THE DlSTRlCT COURT IN AND FOR ROGERS COUNTY%

STA'I`E OF OKLAHOMA
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) __....,...___`______:._.. ,. . .
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VS § CASE NOCJ..Z@’;#Z,/§? """
)
(1) ii a ii BORiNG Co., a domean 3 ATTORNEY LiEN cLAii\/iao
for profit business corporation ]
l
Defendant. ]
l

PETI'I`ION

 

COMES NOW the Plaintiff, Dedricl< Reed, through his attorneys of record,
Daniel E. Smolen and Lauren G. Lambright, and brings this action against the
Defendant, H & ii Boring Co-., for violations of his constitutionally protected rights
arising out ofhis employment and termination by said Defendant.

PARTIES. lUR]SDICTlON AND VENUE

1. Plaintiff is a resident of Tulsa County.

2. Defendant is a corporation regularly doing business in Rogers County,
Oklahoma.

3. The incidents and occurrences Which form the basis of Plain'ciffs action

occurred in Rogers County.

4. This Court has jurisdiction and venue is proper in Rogers County.

5. ' Plainti'ff filed a charge of discrimination against the Defendant with the Equal
Ernpl'oyment Opportunity Commission ["EEOC"). A Notice of Right to Sue was

received by each Plairitiff on or about ]anuary 16, 2014, and this Petition has been

Exhibit 1

Case 4:14-cv-OO423 CVE
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l _ l~l&l-l Road Boring ned m USDC |\$|9[1);(§;<3?;6(;7/24/14 Page 25 Of 31
_ _ p_5

filed within ninety days {90) of the receipt of the Notice of Right to Sue. As such,
Plaintiff has complied fully with all prerequisites in this Court under Title Vll.

6. Actual and compensatory damages are sought pursuant to 42 U.S.C. § 2000€,
et seq. and 42 U.S.C. § 1981.

7. Punitive damages are sought pursuant to 42 U.S.C. § 1981.

8. Costs and attorneys fees may be awarded pursuant to 42 U.S.C. § 2000e, et

seq
FACTS COMMO_N TO ALL CLAIMS
9. Plaintiff is an African-American male.

10. Plaintiff was an employee of Defendant until his termination on or about
]anuary 28, 20 13. Plaintiff was employed as a Crew Worker and Driver.

11. Upon his hire, Plai'ntiff was the only African American employee of the
company. During his employment, he Was subjected to disparate treatment on the
basis of his race. Specifically, Plaintiff endured racial slurs, unequal terms and
conditions of employment, and a hostile work environment in comparison to his
Caucasian coworkers Furthermore, when Plaintiff questioned this treatment and

complained about it to his supervisor, he suffered retaliation at the hands of

Defendant.

12. Specifically, one employee, ”Zal<e," constantly called Plaintiff a "nigga" and
aiso called him "Obarna.” Additi'orially, the owner, i\/lr. Gerald Hail, told Piaintiff to
run at Hail’s son’s request because this was something Hail's son enjoyed watching
Even though Plainti'ff complained to the owner. Gerald Hail, Defendant did nothing

to address the derogatory language and hostile environment The hostile

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|-|&H Road Boring 918-543-3766 p.6

environment Was severe and pervasive and made it difficult for Plaintiff to continue
Working.

13. In addition to the racial slurs Plaintiff endured, he was also treated
differently.{Specifically, Defendant informed Plaintiff that he would not receive
insurance because the "Obama Health Plan" Was too expensive. Yet no other
similarly situated Caucasian employee was denied insurance on this basis. Plaintiff
Was treated worse than his Caucasian co-Workers because of his race.

14. Defendant also lowered Plaintiff’s pay by two dollars an hour without any
Warning or any deficient work performance on Plaintiff’s part. Defendant also
singled out Plaintiff as the only employee to be paid "under the table." No other
Caucasian co-Worker was treated this way and Defendant lowered Plaintiff’s pay
and paid him "under the table" because of Plaintiff’s race.

15. When Plaintiffattempted to voice his concerns about the disparate treatment
and rectify the situation, the Defendant retaliated against and fired him on january
28, 2013. Plaintiff’s termination was a culmination of the racially hostile work
environment, based upon his race and was in retaliation for Plaintiff reporting the
race discrimination and hostile Work environment he Was experiencing

FIRST CLA]M FOR REL]EF
DlSCRIMINATlON BASED ON RACE (TlTLE Vll]

16. Plaintiffincorpora tes as if realleged the preceding paragraphs

17. By terminating the Plaintiff and treating him differently than similarly
situated Caucasian employeesJ the Defendant has violated Title Vll ofthe Civil Rights
Act of 19 64.

WHERFORE, Plaintiff prays for judgment against the Defendant for:

. . 7 of 31
Case 4'14-cv-OO423-CVE-FHI\/| Document 2 Filed in USDC Ng[:;(:l:$o?)r;§i?/M/M Paacj;e 2
H&H Road Boring `

a. Back pay and lost ben efits; front pay until normal retirement

b. Compensatory damages for his mental anguish, pain and suffering and
other non-pecuniary losses;

c. Punitive damages for the intentional and knowing acts ofdiscrimination
committed by the management and executives at}oe Cooper Ford;

d. His attorney fees and the costs and expenses ofthis action;

e. Such other reliefas the Court deems just and equitable.

SECOND CLAIM FOR RELIEF
--"___`__

42 U.S.C. § 1981

18. Plaintiff incorporates as if realleged the preceding paragraphs

19. By terminating the Plaintiff and treating him different than similarly situated
Caucasian employees the Defendant has violated 42 U.S.C. §_1981.

WHERFORE, Plaintiff prays for judgment against the Defendant for:

a. Back pay and lost benefits; front pay until normal retirement

b. Compensatory damages for his mental anguish, pain and suffering and
other non-pecuniary losses;

c. Punitive damages for the intentional and knowing acts of discrimination
committed by the management and executives at joe Cooper Ford;

d. His attorney fees and the costs and expenses ofthis action;

e. Such other relief as the Court deems just and equitable.

THIRD CLA|M FOR REL[EF
HOSTILE WORK ENVIRONMENT (TlTLE Vlll

20. Plaintiff incorporates as if realleged the preceding paragraphs
21. The conduct and attitude of Plaintiff’s supervisors and coworkers toward

Plaintiff combined with their disparaging remarks regarding Plaintiff's race were so

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H&H Road Boring 918-543-3766 p.8

severe and pervasive that they altered the conditions of employment and created a_
hostile working environment

22. By subjecting Plaintiff to a hostile work environment based upon race and
failing to ensure a non-hostile work environment, and ultimately terminating the
Plaintiff’s employment the Defendant has violated Title VII of the Civil Rights Act of
1964.

WHERFORE, Plaintiff prays for judgment against the Defendant for:

a. Back pay and lost benefits; front pay until normal retirement

b. Compensatory damages for his mental anguish, pain and suffering and
other non-pecuniary losses;

c. Punitive damages for the intentional and knowing acts of discrimination
committed by the management and executives at joe Cooper Ford;

d. His attorney fees and the costs and expenses of this action;

e. Such other reliefas the Court deems just and equitable.

FOURTH CLAIM FOR RELIEF
RETALIAT] ON l'TITLE Vlll

23. Plaintiff incorporates as if realleged the preceding paragraphs

24. Plaintiff complained about the disparity in treatment and hostile Work
environment based.upon his race.

25. By terminating Plaintiffs employment in retaliation for his complaints
regarding the unfair treatment and hostile work environment, Defendant has
violated Title Vll ofthe Civil Righ'ts Act of 1964, 42 U.S.C. §ZDUOe-S[a].

WHERFORE, Plaintiff prays for judgment against the Defendant for:

a. Back pay and lost benefits; front pay until normal retirement
b. Compensatory damages for his mental anguish, pain and suffering and

other non-pecuniary losses;

Case 4:14-cv-OO423-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 07/24/14 Page 29 of 31
|-l&l-l Road Boring 918-543-3766 p.9

26.

27.

2 _ . .
8 The Defendant intentionally or recklessly Caused severe emotional distress

WHERFORE, P]aintiffprays for judgment against the Defendant for:

a. Back pay and lost benefl ts; front pay until normal retirement

b. Comp¢nsaro.~y damages for his mental anguish, pain and suffering and
Ol£h€l‘ non-pecuniary losses;

c. Punitive damages for the intentional and knowing acts of discrimination
committed by the management and executives at joe Cooper Ford;

d. His attorney fees and the costs and expenses of this action,'

e. Such other reliefas the Court deems just and equitable.

Respectfully submitted,

 

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701 s.`cincinnan Ave.,

Tulsa, Ol{ 74119

P: [918] 585-2667

F: (918] 585-2669

Attorneys for Plainti'ff

` `n USDC ND/OK on 07/24/14
Case 4:14§}; yngBQ§EF-CVE-FHI\/| Document 2531|;[5|%§7|66 wo

ll\i' THE DISTRlCT COURT lN AND FOR ROGERS COUNTY

STATE OF OKLAHOMA
DEDRICK D. REED. )
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Plaintifi`. ) .
) CASE NO_ CJ ZCl'i‘/-/57
Vs. )
l )
(_l) H & H BOR|NG CO., a domestic ) ATTORNEY LIEN CLAIMED
for profit business corporation )
')
Defendant. )
,')
ORIGINAL SUM'MONS

SERVE BY U.S. CERTIF`IED MAIL, RE-TURI\' RECEIPT REQ UESTED

l-l & H Boring CO.
c/o Ellen L. Hill

Ri. 5 Box 646
Guthrie1 OK 73 044

To the above-named Defendant(_s)

You have been sued by lhe above named plaintiff(s)._ and you are directed to file a written
answer to the attached petition and order in the court at the above address within twenty (20) days
after service ofihis summons upon you exclusive of the day of service Within the same time, a
copy of your answer must bc delivered or mailed to the attorney for the plaintiff Unless you answer
the petition within the time stated judgment will be rendered against you with costs of the action

lssued this 45 m day of , 2014

B:y"
Deputy Court Clerk
(Seal)
This summons and order was served on

 

(Signature of person serving summons)

YOU MAY SEEK THE .*\DVICE OF AN AT`[`ORNEY ON ANY l\/IA'I`TER
CONNECTED WITH Tl'llS SUIT OR YOUR ANSWER. SUCH ATTORNEY SHOULD BE
CONSI,`LTED IMMEDIA'I`ELY SO THAT AN ANSWER _\/1AY BE FILED WlTHlN THE
TlME LIMIT S`l`ATE-D l"N THIS SUMMONS.

Rciurn ORIGlNAL for filing.

__ __ '_ `_`l- serv_ed_ l l by leaving a c`op`y oi's'aid§ummbns
with a copy of the attached Petition al _
which is his/her dwelling house or usual place ofabode, with ` _ . `
. a person then residing therein, who is fifteen (_l 5) years oi'

 

 

age or older.
NOT FOUND _
Received lhis Summons this day of __, 2014. l certify that the following
persons of the defendant within named not found in said Couniy:

 

FEES
Fee l.`or service 3 t Milcage 5
'l‘otal $
Dated this day of , 2014.
By:

Sheriff of__________ County.

Exhibit 2

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Case 4:14-cv-OO423-CVE-FHI\/| Document 2 Filed in USDC ND/OK on 07/24/14 Page 31 of 31

IN THE DISTRICT COURT IN AND FOR ROGERS COUNTY

STATE OF OKLAHOMA

DEDRICK D. REED, )
)
Plaintiff, )

) Case No. CJ-2014-157
vs. )
)
H & H BORING CO., a domestic )
for profit business corporation, )
)
Defendant. , )

AFF]])AVIT OF GERALD HA[L

GERALD HAIL, being first duly sworn upon oath states as follows:

'l.

H & H Road Boring Company7 LLC is not related, nor do 1 have any knowledge of

H & H & Boring Company. H & H Boring Company which apparently operates out of Guthrie,
Oklahoma. I have no contact affiliation or association with H & H Boring Company.

2.

The original Summons delivered to H & H Road Boring Company, LLC was

addressed to H & H Boring Company c/o Ellen L. Hill, Route 5, Box 646, Guthrie, OK 74346. The
lawsuit is filed against H & H Boring Company, not H & H Road Boring Company, LLC.

0
3.

7403 6_

of

H & H Road Boring Company, LLC is located at 14157 East 580 Road7 Inola, OK

I am the manager of the LLC known as H & H Road Boring Company, LLC.

l have no affiliation, ownership or control of H & H Boring Company in Guthrie, OK.

a///¢/

GERALD HAIL

Aftiant iiirther sayeth not.

SU@[CA;R/l(B/ED AND SWORN to before me, the-undersigned Notary Public thisjp't/i/day

,2014.

 

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Notary Puiziic t

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State of Oklahoma

on # 63008165 Expires 07/09115;

Exhibit 3

